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Colleen R. Smith (ISB No. 10023)              Peter G. Neiman*
Stris & Maher LLP                             Alan E. Schoenfeld*
American Civil Liberties Union of             Michelle Nicole Diamond*
   Idaho Foundation Cooperating Attorney      Wilmer Cutler Pickering
1717 K Street NW, Suite 900                      Hale and Dorr LLP
Washington, DC 20006                          7 World Trade Center
T: 202-800-5749                               New York, NY 10007
csmith@stris.com                              T: 212-230-8800
                                              F: 212-230-8888
Katherine V. Mackey*                          peter.neiman@wilmerhale.com
Wilmer Cutler Pickering                       alan.schoenfeld@wilmerhale.com
   Hale and Dorr LLP                          michelle.diamond@wilmerhale.com
60 State Street
Boston, MA 02109                              Attorneys for Plaintiffs
T: 617-526-6993
F: 617-526-5000                               Additional counsel for Plaintiffs
katherine.mackey@wilmerhale.com               identified on following page


                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.            Case No. 1:23-cv-00142-BLW
 WEYHRICH, M.D., on behalf of himself and his
 patients,                                                   EMERGENCY REQUEST
                Plaintiffs,                                  FOR A STATUS
         v.                                                  CONFERENCE

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; MEMBERS
 OF THE IDAHO STATE BOARD OF MEDICINE
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
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Jennifer R. Sandman*                         Andrew Beck*
Catherine Peyton Humphreville*               Meagan Burrows*
Planned Parenthood Federation of America     Ryan Mendías*
123 William Street                           Scarlet Kim*
New York, NY 10038                           American Civil Liberties Union Foundation
212-965-7000                                 125 Broad Street, 18th Floor
jennifer.sandman@ppfa.org                    New York, NY 10004
catherine.humphreville@ppfa.org              T: 212-549-2633
                                             F: 212-549-2649
Michael J. Bartlett (ISB No. 5496)           abeck@aclu.org
Bartlett & French LLP                        mburrows@aclu.org
1002 W Franklin St.                          rmendias@aclu.org
Boise, Idaho 83702                           scarletk@aclu.org
T: 208-629-2311
F: 208-629-2460 (fax)                        Attorneys for Physician Plaintiffs
Michael@BartlettFrench.com
                                             * Admitted pro hac vice
Attorneys for Plaintiff Planned Parenthood
Great Northwest, Hawaii, Alaska, Indiana,
Kentucky
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       Plaintiffs Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana, Kentucky,

Caitlin Gustafson, M.D., and Darin L. Weyhrich, M.D., by and through their attorneys of record,

hereby submit this Emergency Request for a Status Conference.

       Last March, Defendant Attorney General Raúl Labrador issued a formal opinion letter

(the “Crane Letter”), opining that Idaho’s abortion ban criminalizes referrals for lawful out-of-

state abortions and also subjects licensed health care providers who make such referrals to loss of

licensure in Idaho. Plaintiffs promptly sued, seeking a preliminary injunction against AG

Labrador, each Idaho County Prosecutor, and each member of the Idaho State Boards of

Medicine and Nursing (“the Boards”). The Court granted the preliminary injunction as to AG

Labrador, finding that Plaintiffs were likely to succeed in showing that punishing referrals for

out-of-state abortions violated the First Amendment. The Court declined to enjoin the members

of the Boards, however, based on questions about the Boards’ authority to prosecute or enforce

violations of Idaho’s abortion ban. The Attorney General appealed, and last week, the Ninth

Circuit affirmed this Court’s preliminary injunction. Planned Parenthood Great NW., Hawaii,

Alaska, Indiana, Kentucky v. Labrador, 2024 WL 4966057, at *12 (9th Cir. Dec. 4, 2024).

       Shortly thereafter, Plaintiffs received credible information that, after the Ninth Circuit

issued its opinion, the Idaho Division of Occupational and Professional Licenses (“DOPL”),

which investigates complaints to support the Boards’ licensure decisions, 1 opened an

investigation into a claim that an Idaho-licensed medical provider mentioned to a patient the

option of accessing abortion care in another state where abortion is legal. That is, an


1
       The Boards are assigned to the DOPL, Idaho Code § 54-1805, which provides support to
the Boards by investigating complaints through the Health Professions Bureau. See DOPL,
Organizational Chart Showing Board Reporting Structure, https://dopl.idaho.gov/wp-
content/uploads/2024/07/DOPL-Org-Chart-Board-Reporting-Structure.pdf (updated July 1,
2014); see DOPL, Organizational Chart Showing Functional Level, https://dopl.idaho.gov/wp-
content/uploads/2024/03/DOPL-Org-Chart-Functional-Level.pdf (updated Jan. 22, 2024).

                                                     1
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investigatory division supporting the Boards—which then have the authority to suspend and

revoke the licenses of medical providers in Idaho, see Idaho Code §§ 54-1806(6), 54-1814(6),

54-1404(2)—was pursuing an investigation into the very conduct that this Court and the Ninth

Circuit held was likely constitutionally protected. If true, this is extremely concerning in light of

the Ninth Circuit’s clear First Amendment ruling and it raises urgent and very serious questions

about whether the scope of the preliminary injunction is sufficient to protect Plaintiffs’ ongoing

exercise of their First Amendment rights.

       When the Court stayed all proceedings pending appeal, it recognized that circumstances

could arise during the stay which may require Plaintiffs to seek relief from the Court. Dkt. 167

at 8. Plaintiffs respectfully submit that these circumstances are present now: The credible

information Plaintiffs have received that a provider is currently being investigated for the precise

speech that this Court and the Ninth Circuit have already found to be constitutionally protected

necessitates, at a minimum, an immediate status conference to address the matter. Plaintiffs

respectfully submit that, absent sufficient assurances that no investigation is currently underway

or that any such investigation will be promptly ceased with no adverse disciplinary or licensure

action being taken against the provider for said speech, the Court should assess what steps can be

taken to protect Plaintiffs’ First Amendment rights, including lifting the stay, ordering expedited

discovery into the investigation of medical providers for constitutionally protected conduct,

setting a schedule for briefing of a renewed motion for a preliminary injunction, or expanding the

scope of the existing preliminary injunction to run against the Boards. 2




2
        Plaintiffs are concerned that disclosure to the defendants of the source or sources of their
information about the investigation would expose the source or sources to retaliation. Plaintiffs
are prepared to share that information with the Court ex parte if necessary.
                                                      2
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       For the foregoing reasons, Plaintiffs respectfully request that the Court schedule an

emergency status conference at its earliest possible convenience and order counsel for AG

Labrador and the Boards to attend.

       RESPECTFULLY SUBMITTED this 11th day of December, 2024.


                                                                    /s/ Colleen R. Smith
                                                                    Colleen R. Smith




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Jennifer R. Sandman*                                   Colleen R. Smith (ISB No. 10023)
Catherine Peyton Humphreville*                         Stris & Maher LLP
Planned Parenthood Federation of America               American Civil Liberties Union of
123 William Street                                        Idaho Foundation Cooperating
New York, NY 10038                                        Attorney
T: 212-965-7000                                        1717 K Street NW, Suite 900
jennifer.sandman@ppfa.org                              Washington, DC 2006
catherine.humphreville@ppfa.org                        T: 202-800-5749
                                                       csmith@stris.com
Michael J. Bartlett (ISB No. 5496)
Bartlett & French LLP                                  Katherine V. Mackey*
1002 W Franklin St.                                    Wilmer Cutler Pickering
Boise, Idaho 83702                                        Hale and Dorr LLP
T: 208-629-2311                                        60 State Street
F: 208-629-2460 (fax)                                  Boston, MA 02109
Michael@BartlettFrench.com                             T: 617-526-6993
                                                       F: 617-526-5000
Attorneys for Plaintiff Planned Parenthood Great       katherine.mackey@wilmerhale.com
Northwest, Hawaii, Alaska, Indiana, Kentucky
                                                       Peter G. Neiman*
Andrew Beck*                                           Alan E. Schoenfeld*
Meagan Burrows*                                        Michelle Nicole Diamond*
Ryan Mendías*                                          Wilmer Cutler Pickering
Scarlet Kim*                                              Hale and Dorr LLP
American Civil Liberties                               7 World Trade Center
   Union Foundation                                    New York, NY 10007
125 Broad Street, 18th Floor                           T: 212-230-8800
New York, NY 10004                                     F: 212-230-8888
T: 212-549-2633                                        peter.neiman@wilmerhale.com
F: 212-549-2649                                        alan.schoenfeld@wilmerhale.com
abeck@aclu.org                                         michelle.diamond@wilmerhale.com
mburrows@aclu.org
rmendias@aclu.org                                      Attorneys for Plaintiffs
scarletk@aclu.org
                                                       * Admitted pro hac vice
Attorneys for Physician Plaintiffs




                                                   4
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2024, I filed the foregoing electronically through

the CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

       Raul R. Labrador
       Office of the Attorney General State of Idaho
       954 W. Jefferson St., 2nd Floor
       P.O. Box 83720
       Boise, ID 83720-0010

       Jan M. Bennetts
       Ada County Prosecuting Attorney
       Adan County Prosecutor’s Office
       200 West Front Street, Room 3191
       Boise, ID 83702

       Christopher D. Boyd
       Adams County Prosecuting Attorney
       201 Industrial Ave. Council, ID 83612
       P.O. Box 604
       Council, ID 83612

       Alex Gross
       Boise County Appointed Prosecuting Attorney
       406 Montgomery Street
       P.O. Box 186
       Idaho City, Idaho 83631

       Andrakay J. Pluid
       Boundary County Prosecuting Attorney
       6452 Kootenai Street, Room 12
       P.O. Box 1148
       Bonners Ferry, ID 83805

       Steve Stephens
       Butte County Prosecuting Attorney
       P.O. Box 736
       Arco, ID 83327

       Jim Thomas
       Camas County Prosecuting Attorney
       501 Soldier Road
       P.O. Box 160
       Fairfield, ID 83327
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 McCord Larsen
 Cassia County Prosecuting Attorney
 1459 Overland Ave. 3rd Floor
 P.O. Box 7
 Burley, ID 83318

 E. Clayne Tyler
 Clearwater County Prosecuting Attorney
 106 Michigan Ave.
 Orofino, ID 83544

 Trevor Misseldine
 Gooding County Prosecuting Attorney
 624 Main Street
 Gooding, ID 83330

 Mark Taylor
 Jefferson County Prosecuting Attorney
 Jefferson County Courthouse
 210 Courthouse Way
 Suite 220
 Rigby, ID 83442

 Rob Wood
 Madison County Prosecuting Attorney
 Madison County Clerk’s Office
 134 E Main Street
 Rexburg, ID 83440

 Lance Stevenson
 Minidoka County Prosecuting Attorney
 P.O. Box 368
 Rupert, ID 83350

 Cody L. Brower
 Oneida County Prosecuting Attorney
 10 W. Court Street
 Malad, ID 83252

 Ben Allen
 Shoshone County Prosecuting Attorney
 Shoshone County Courthouse
 700 Bank Street, Suite 200
 Wallace, ID 83873

 Grant P. Loebs
 Twin Falls County Prosecuting Attorney
Case 1:23-cv-00142-BLW       Document 176   Filed 12/11/24   Page 9 of 12



 425 Shoshone Street North
 Third Floor
 P. O. Box 126
 Twin Falls, ID 83303-0126

 Brian Naugle
 Valley County Prosecuting Attorney
 Valley County Courthouse
 219 N. Main Street
 Cascade, ID 83611

 Stephen F. Herzog
 Bannock County Prosecuting Attorney
 624 E Center Street, Room 204
 Pocatello, ID 83201

 Adam McKenzie
 Bear Lake County Prosecuting Attorney
 Bear Lake County Courthouse
 30 N Main Street
 P.O. Box 190
 Paris, ID 83261

 Mariah R. Dunham
 Benewah County Prosecuting Attorney
 701 W College Ave., Suite 201
 St. Maries, Idaho 83861

 Paul Rogers
 Bingham County Prosecuting Attorney
 501 N Maple Street
 Blackfoot, Idaho

 Matt Fredback
 Blaine County Prosecuting Attorney
 219 South 1st Ave.
 Suite 201
 Hailey, ID 83333

 Louis Marshall
 Bonner County Prosecuting Attorney
 1500 Highway 2
 Sandpoint, ID 83864

 Randy Neal
 Bonneville County Prosecuting Attorney
 605 N Capital Ave.
 Idaho Falls, Idaho 83402
Case 1:23-cv-00142-BLW       Document 176   Filed 12/11/24   Page 10 of 12



 Shondi Lott
 Elmore County Prosecuting Attorney
 Elmore County Courthouse Annex
 190 South 4th East Street
 Mountain Home Idaho 83647

 Lindsey Blake
 Fremont County Prosecuting Attorney
 22 W. 1st North, Street
 St. Anthony, ID 83445

 Kirk A MacGregor
 Idaho County Prosecutor
 416 West Main Street
 PO Box 463
 Grangeville, Idaho 83530

 Brad Calbo
 Jerome County Prosecuting Attorney
 Jerome County Judicial Annex
 233 W Main Street
 Jerome, ID 83338

 Stanley Mortensen
 Kootenai County Prosecuting Attorney
 501 Government Way
 Coeur d’Alene, ID 83814

 Bill Thompson
 Latah County Prosecuting Attorney
 Latah County Courthouse
 522 S Adams Street
 Moscow, ID 83843

 Zachary Pall
 Lewis County Prosecutor
 Lewis County Courthouse
 510 Oak Street #2
 Nezperce, ID 83543

 Christopher Topmiller
 Owyhee County Prosecuting Attorney
 P.O. Box 128
 Murphy, ID 83650

 Mike Duke
 Payette County Prosecuting Attorney
 1115 1st. Ave. N.
Case 1:23-cv-00142-BLW       Document 176        Filed 12/11/24   Page 11 of 12



 Payette, ID 83661

 Delton L. Walker
 Washington County Prosecuting Attorney
 Walker Law Office
 232 E Main Street
 Weiser, ID 83672

 Janna Birch
 Clark County Prosecuting Attorney
 P.O. Box 2869
 Idaho Falls, ID

 Richard Roats
 Lincoln County Prosecuting Attorney
 111 West B Street
 P.O. Box 860
 Shoshone, ID 83352

 Bryan Taylor
 Canyon County Prosecuting Attorney
 1115 Albany Street
 Caldwell, ID 83605

 S. Doug Wood
 Caribou County Prosecuting Attorney
 159 South Main Street
 Soda Springs, ID 83276

 Vic A. Pearson
 Franklin County Prosecuting Attorney
 Franklin County Prosecuting Attorney's Office
 39 West Oneida
 Preston, ID 83263

 Erick Thomson
 Gem County Prosecuting Attorney
 306 E. Main Street
 Emmett, ID 83617

 Justin Coleman
 Nez Perce County Prosecuting Attorney
 1113 F Street
 Lewiston, ID 83501

 Jason E. “Mack” Mackrill
 Power County Prosecuting Attorney
 Power County Courthouse
     Case 1:23-cv-00142-BLW          Document 176       Filed 12/11/24      Page 12 of 12



       543 Bannock Ave.
       American Falls, ID 83211

       Bailey A. Smith
       Teton County Prosecuting Attorney
       Law Enforcement Center
       230 N Main Street, Suite 125
       Driggs, ID 83422

       And I FURTHER CERTIFY that on such date I served the foregoing on the following

non-CM/ECF registered participants via U.S. first class mail, postage prepaid addressed as

follows:

       Justin Oleson
       Custer County Prosecuting Attorney
       521 E. Main Ave.
       PO Box 630
       Challis, ID 83226-0630

       Adam Strong
       Boise County Appointed Prosecuting Attorney
       406 Mongomery Street
       Idaho City, ID 83631

       Paul Withers
       Lemhi County Prosecutor
       1301 Main Street, Suite 6
       Salmon, ID 83467

       Members of the Idaho State Board of Medicine
       Idaho State Board of Medicine
       11341 W. Chinden Blvd.
       Boise, ID 83714

       Members of the Idaho State Board of Nursing
       Idaho State Board of Nursing
       11341 W. Chinden Blvd.
       Boise, ID 83714



                                                           /s/ Colleen R. Smith
                                                           Colleen R. Smith
